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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    STATE OF NEW YORK, et al.,


                       Plaintiffs,

           v.                                            Civil Docket No. 20-cv-2340 (EGS)

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.,


                       Defendants.


                                 DEFENDANTS’ STATUS REPORT

          On August 23, 2021, this Court granted Defendants’ Motion for Clarification, stating that

“[t]he preliminary injunction does not prohibit the Postal Service from declining approval for extra

network trips pursuant to the following principles: (1) where an extra trip would not be service

responsive, and (2) where not using an extra trip would delay a volume of mail that is no greater

than 15 percent of the truck’s total capacity.” ECF No. 98, at 16.         One week later, the Court

ordered the Defendants to file a status report by November 22, 2021, stating, inter alia, the number

of extra trips denied pursuant to these two principles, as well as the total number of extra trips

approved over the same period. See Minute Order (Aug. 31, 2021).1 That information, as provided

by Defendants to undersigned counsel, is set forth below:

          1. The total number of “extra trips denied on the grounds that the trip would not be
             service responsive” for the relevant 90-day time period (if any), broken out by
             division. 2 total trips, both in the Chesapeake Division.


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  This Court ordered the data to include information for the prior 90 days. However, Postal Service
staff were only authorized to deny trips subject to the two principles permitted by this Court’s
August 23, 2021 Order on November 1, 2021. Accordingly, trips could only be denied for those
two bases for the past 22 days.
                                                     1
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       2. The total number of “extra trips denied on the grounds of low volume of mail” for
          the relevant 90-day time period (if any), broken out by division. Three total trips,
          two in the Pacific Northwest Division, one in the South Atlantic Division.

       3. The total number of extra trips approved during the 90-day time period (i.e., the
          “denominator”). See attached exhibit, which represents the total number of all Extra
          Network & Local Trips, broken out by Division and by day.2 See First Randel Dec. ⁋⁋
          3-5 (defining Local and Network Trips), ECF No. 89-1.


Dated: November 22, 2021              Respectfully submitted,

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                                      Acting Assistant Attorney General

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                                      Assistant Director, Federal Programs Branch

                                      /s/ Joseph E. Borson
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  An alternative way of defining the “denominator” would be the number of trips requested through
the Extra Trip Sharepoint system, which is the system used for denying extra trips on the grounds
set forth above. As described in the Postal Service’s filings, these trips represent a smaller subset
of extra Network trips, and does not include all Network trips. See, e.g., ECF No. 89-1. A total
of 3,418 trips were approved through that system in the month of October 2021, and, as of today,
3,312 trips were approved through that system from November 1, 2021 through November 22,
2021.
